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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
v. ) Case: 1:23-mj-00346
David Mitchell Bates ) Assigned To : Harvey, G. Michael
: Mitch Bates) ) Assign. Date : 12/12/2023
(AKA: Mitch Bates ) Description: COMPLAINT WIARREST WARRANT
)
a )
Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) David Mitchell Bates >

who is accused of an offense or violation based on the following document filed with the court:

O Indictment CO Superseding Indictment Ol Information © Superseding Information WM Complaint
1 Probation Violation Petition C Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds;
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capitol Grounds or Buildings;
40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
Digitally signed by G. Michael

G. Michael Harvey taney
Date: 12/12/2023 / Date: 2023.12.12 13:44:27 -05

Issuing officer’s signature

City and state: Washington, D.C. _ G. Michael Harvey, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) ee A \2/ D5 , and the person was arrested on (date) _ | Z / | Z / 23
at (city and state) EAN I NC WATE SW! ” /

Date: _| Yofts LW 1A AT

™ Arresting officer’s signature

LUCAS WEN

Printed name and title

